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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

                                       Civil No. 1:17-CV-04179-DLC
 UNITED STATES SECURITIES AND EXCHANGE
 COMMISSION,                           Honorable Judge Denise L. Cote
                                       Magistrate Judge Ronald L. Ellis
      Plaintiff,
                                       ALPINE SECURITIES
 v.                                    CORPORATION’S NOTICE OF
                                       CROSS-MOTION FOR
 ALPINE SECURITIES CORPORATION,        SUMMARY JUDGMENT AND
                                       MOTION FOR JUDGMENT ON
      Defendant.                       THE PLEADINGS

                                                          ECF CASE


       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 12(c) and 56, Defendant

Alpine Securities Corporation (“Alpine”), by and through undersigned counsel, moves this Court

for summary judgment and/or judgment on the pleadings against the Plaintiff United States

Securities and Exchange Commission (“SEC”) on the following grounds: (1) the SEC lacks

authority to pursue an action for violations of the Bank Secrecy Act (“BSA”); (2) the authority to

pursue an enforcement action alleging violations of the BSA or its implementing regulations lies

with FinCEN – not the SEC; (3) the SEC has only examination authority and may not pursue

violations of the BSA; (4) the SEC cannot use Rule 17a-8 to pursue alleged violations of the

BSA; and (5) the SEC failed to alleged the necessary elements of willfulness or negligence.

       Based on the foregoing, and for the reasons stated in the accompanying memorandum of

law, Alpine respectfully requests the Court enter summary judgment and/or judgment on the

pleadings against the SEC.




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Dated: New York, New York                 Respectfully submitted,
       January 19, 2018


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